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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE: NATIONAL FOOTBALL LEAGUE                       No. 12-md-2323(AB)
PLAYERS’ CONCUSSION INJURY
LITIGATION                                            MDL No. 2323



              RESPONSE AND DECLARATION OF ROBERT A. STEIN TO
             PROFESSOR WILLIAM B. RUBENSTEIN’S EXPERT REPORT

        1.     Pursuant to the Court’s December 11, 2017 Order of Court, Robert A. Stein

hereby responds to the Expert Report of Professor William B. Rubenstein, filed on December 11,

2017.

        2.     I represent a number of former NFL players who are settlement class members in

this case.

        3.     Professor Rubenstein’s thoughtful analysis regarding class member attorney fees

produced opinions as to (a) a presumptive cap on all contingent fee contracts, and (b) the Class

Counsel proposed 5% set-aside of class members’ recoveries. I agree with his recommendation

as to the latter, and wish to briefly explain a major fault in the underlying actuarial projection of

$950 million for the amount to ultimately be distributed through the Monetary Award Fund

(“MAF”) which he relied upon in the former. This actuarial omission could dramatically affect

Professor Rubenstein’s opinion and the Court’s intent for the settlement itself.

        4.     The “Billion Dollar Settlement” payment to the class is largely speculative.

Public comments by Class Counsel and NFL representatives treat the projections of actuaries

hired by them as similar to typical class action settlements wherein fixed, actual amounts are

agreed to be paid by Defendants to damaged class members. In this litigation class members

only receive monetary awards based upon their receiving Qualifying Diagnoses from settlement-

approved physicians once the settlement received final approval. The $950 million projection

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appears to have been based upon actuarial assumptions which did not consider a significant and

likely event – the final approval and medical use of a test for CTE in living persons, namely the

retired NFL players constituting the settlement class.

       5.      Class Counsel’s requested fees, if approved, appear to be the only amounts certain

to be paid in this settlement, as no minimum payment to class members is fixed by settlement

terms. The total amount paid to brain-damaged retired players solely rests on their navigating

multiple settlement hurdles. The greatest of these hurdles is CTE.

       6.      CTE, or Chronic Traumatic Encephalopathy, was the centerpiece of initial

concussion injury litigation, yet the eventual settlement eliminated it as a Qualifying Diagnosis

for payment, and worse, the settlement required the specific release of all CTE claims by class

members, other than a short window for recovery by a small number of players who died with

CTE prior to final settlement approval.

            a. In the short time since final settlement approval, evidence has mounted that CTE

               is the overwhelming cause of horrific symptoms in brain damaged ex-players.

               The Court is well aware of the recent Boston University study confirming CTE in

               110 of 111 deceased, symptomatic ex-players, despite many having been

               diagnosed and treated for other, similar diseases before death.

            b. Development of tests for CTE in living persons continues rapidly at medical

               centers including UCLA, where multiple symptomatic ex-NFL players have

               received preliminary CTE diagnosis.

            c. The actuarial estimate of $950 million eventual settlement payments did not

               consider a likely, logical event – the diagnosis of (settlement released) CTE in

               damaged class members which effectively precludes their qualifying for any



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               settlement award. Consequently, Professor Rubenstein could not consider the

               resulting diminution in eventual settlement payments. The reasonable scenario

               being that once a living person CTE test receives final medical (i.e. FDA)

               approval, settlement-approved BAP and MAF physicians (the only ones now able

               to provide Qualifying Diagnoses to justify monetary awards) will, as medically

               appropriate, administer that test to damaged class members. Every class member

               testing positively for CTE, like the 110 of 111 tested posthumously at Boston

               University, will then become ineligible for any settlement award due to the

               settlement’s release of all CTE claims, and of CTE’s exclusion as a Qualifying

               Diagnosis after final settlement approval. Physicians identifying CTE by a

               medically accepted test would not reasonably continue testing for other

               conditions, as diagnosis would be medically complete. This could effectively

               eliminate virtually all settlement awards immediately. This occurrence would

               cause the “Billion Dollar Settlement” to become far smaller, inconsequential for

               damaged retired NFL players from that point, and the likelihood may dramatically

               change the award totals relied upon by Professor Rubenstein for his opinion.

       7.      I addressed the likelihood of this result and its impact upon my class member

clients to both Special Masters in the attached July 20, 2017 communication, requesting their

response to help advise class members and retired NFL player clients who had at that time opted

out. To the date of this filing I have received no response. A true and correct copy of my July

20, 2017 communication is attached here as Exhibit A.

       8.      This potential “back door” permitting NFL avoidance of payment to legitimately

damaged ex-players is relevant to the consideration of appropriate fixed fees to Class Counsel,



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and to potential ranges of contingent fees to individual attorneys upon actual awards to their

clients.


Dated: January 3, 2018                       Respectfully submitted,


                                             By: /s/ Robert A. Stein
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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on January 3, 2018, a true and correct

copy of the foregoing was filed electronically by CM/ECF, which caused notice to be sent to all

counsel of record.




                                             By: /s/ Robert A. Stein




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